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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 LARRY L. NIERMANN,                                §
                                                   §
        Plaintiff,                                 §
                                                   §
 v.                                                §                      4:22-cv-03147
                                                         Civil Action No._________________
                                                   §
                                                   §
 PHH MORTGAGE CORPORATION,                         §
                                                   §
        Defendant.                                 §


                         DEFENDANT’S NOTICE OF REMOVAL


TO THE HONORABLE UNITED STATES JUDGE:

       Notice is hereby given that, pursuant to 28 U.S.C. §§ 1332, 1441, 1446, Defendant PHH

Mortgage Corporation (“PHH” or “Defendant”) hereby removes this action from the 457th Judicial

District Court of Montgomery County, Texas, to the United States District Court for the Southern

District of Texas, Houston Division. In support of such removal, PHH states as follows:

                                  I.      STATE COURT ACTION

       1.      The State Court Action concerns the real property located at 16361 River Fall

Court, Conroe, TX 77302-5539 (the “Property”). (Complaint, p. 1). On or about July 19, 2006,

Plaintiff purchased the Property. (Complaint, p. 2). Following Plaintiff’s admitted default on the

loan, PHH initiated foreclosure proceedings and scheduled the foreclosure sale for September 6,

2022. (Complaint, pp. 2–3).

       2.      On August 31, 2022, Plaintiff Larry L. Niermann (“Plaintiff”) filed his Original

Petition and Application for Temporary Restraining Order (the “Complaint”) in the 457th Judicial

District Court of Montgomery County, Texas, in an action styled Larry L. Niermann v. PHH



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Mortgage Corporation, Cause No. 22-09-11483 (the “State Court Action”). In the Complaint,

Plaintiff alleges a claim for common law fraud. (Complaint, pp. 3–4). He contends that PHH

falsely represented that it would not foreclose on the Property if Plaintiff submitted documentation

to modify the mortgage. (Complaint, p. 3). However, he claims PHH has moved forward with the

foreclosure, including noticing a foreclosure sale for September 6, 2022, even though Plaintiff

allegedly secured a buyer for the sale of the Property on July 8, 2022. (Complaint, p. 3). In

connection with these allegations, Plaintiff seeks injunctive relief, actual damages, attorney’s fees,

and court costs. (Complaint, pp. 4–5).

        3.      PHH has not yet been properly served. Thus, this Notice of Removal is timely under

28 U.S.C. § 1446.

        4.      As discussed below, the Court has jurisdiction over this action on the basis of

diversity jurisdiction.

                              II.     PROCEDURAL REQUIREMENTS

        5.      This action is properly removed to this Court, as the State Court Action is pending

within this district and division. 28 U.S.C. § 1441.

        6.      Pursuant to 28 U.S.C. § 1446(a) and Southern District of Texas Local Rule 81, this

Notice of Removal is accompanied by copies of the following:

                   An index of matters being filed (Exhibit A);

                   A copy of the docket sheet in the State Court Action (Exhibit B);

                   Pleadings asserting causes of action and all answers to such pleadings
                    (Exhibits C-1–C-2);

                   All orders signed by the state judge (Exhibit D);

                   A list of all counsel of record, including addresses, telephone numbers, and
                    parties represented (Exhibit E);




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                  A copy of the Montgomery County Appraisal District Details for the Property
                   (Exhibit F); and

                  A copy of the Deed of Trust (Exhibit G).

       7.      Simultaneously with the filing of this Notice of Removal, PHH is: (1) serving

Plaintiff with a copy of this Notice of Removal, and (2) filing a copy of the Notice of Removal in

the 457th Judicial District Court of Montgomery County, Texas, and providing Plaintiff with

copies. 28 U.S.C. § 1446(d).

                      III.     THIS COURT HAS DIVERSITY JURISDICTION

A.     Diversity of Citizenship

       8.       For purposes of diversity jurisdiction, “[a] natural person is considered a citizen of

the state where that person is domiciled, that is, where the person has a fixed residence with the

intent to remain there indefinitely.” Margetis v. Ray, No. 3:08-CV-958-L, 2009 WL 464962, *3

(N.D. Tex. Feb. 25, 2009) (citing Freeman v. Northwest Acceptance Corp., 754 F.2d 553, 555–56

(5th Cir. 1985)). Plaintiff is a natural person and has claimed Montgomery County, Texas, as his

residence and domicile. (Complaint, p. 1). Accordingly, Plaintiff is a citizen of Texas for diversity

purposes.

       9.      PHH is a New Jersey Corporation with its principal place of business located in Mt.

Laurel, New Jersey. A corporation is a citizen of the state where it is incorporated and the state

where it has its principal place of business. 28 U.S.C. § 1332(c)(1). Lincoln Prop. Co. v. Roche,

546 U.S. 81, 88–89 (2005). Therefore, for diversity purposes, PHH is a citizen of New Jersey.

       10.     Because Plaintiff is a citizen of Texas and PHH is a citizen of New Jersey, there is

complete diversity among the parties. See 28 U.S.C. § 1332(c)(1).




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B.      Amount in Controversy

        11.     Where a defendant can show, by a preponderance of the evidence, that the amount

in controversy more likely than not exceeds the jurisdictional minimum, removal is proper. White

v. FCI U.S.A., Inc., 319 F.3d 672, 675–76 (5th Cir. 2003). A defendant can meet this burden if it

is apparent from the face of the petition that the claims are likely to exceed $75,000, or,

alternatively, if the defendant introduces other evidence to show that the amount in controversy

more likely than not exceeds $75,000. See St. Paul Reins. Co. v. Greenberg, 134 F.3d 1250, 1253

(5th Cir. 1998); Berry v. Chase Home Fin., LLC, No. C-09-116, 2009 WL 2868224, at *2 (S.D.

Tex. Aug. 27, 2009) (mem. op.).

        12.     From a review of the Complaint, it is apparent that the amount at issue more likely

than not exceeds $75,000, exclusive of interest and costs. Plaintiff is seeking injunctive relief

preventing the sale of the Property. (See generally Complaint). He is also seeking actual damages,

attorney’s fees, and court costs.

        13.     The amount in controversy in an action for injunctive relief “is the value of the right

to be protected or the extent of the injury to be prevented.” Greenberg, 134 F.3d at 1252–53. “The

amount in controversy is determined from the perspective of the plaintiff, and the proper measure

is the benefit to the plaintiff, not the cost to the defendant.” Berry, 2009 WL 2868224, at *2. When

the right to property is at issue, courts look to the value of the property to determine whether the

minimum amount in controversy has been met for jurisdictional purposes. Farkas v. GMAC

Mortgage, LLC, 737 F.3d 338, 341 (5th Cir. 2013) (“In actions enjoining a lender from transferring

property and preserving an individual’s ownership interest, it is the property itself that is the object

of the litigation; the value of that property represents the amount in controversy.”); see also




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Nationstar Mortgage LLC v. Knox, 351 F. App’x 844, 848 (5th Cir. 2009) (citing Waller v. Prof’l

Ins. Corp., 296 F.2d 545, 547–48 (5th Cir. 1961)).

        14.      The current fair market value of the Property is an appropriate measure of the value

of the injunctive relief sought. According to the Montgomery Central Appraisal District, this value

is $227,130.1 (Exhibit F). The Deed of Trust also indicates that Plaintiff executed the original note

for an amount that exceeds the $75,000 jurisdictional minimum.2 (Exhibit G).

        15.      Moreover, to determine the amount in controversy, the Court may consider actual

damages and attorney’s fees. White, 319 F.3d at 675; Greenberg, 134 F.3d at 1253, n.7 (citing

Allstate Ins. Co. v. Hilbun, 692 F. Supp. 698, 700 (S.D. Miss. 1988)). Here, Plaintiff seeks actual

damages and attorney’s fees. (Complaint, p. 5).

        16.      Based on the foregoing, it is apparent from the face of the Complaint, the current

tax records for the Property, and the Deed of Trust for the Property that the value of the damages

and injunctive relief sought by Plaintiff more likely than not exceeds the $75,000 jurisdictional

minimum.

        17.      Because there is complete diversity among the parties and because the amount in

controversy requirement is satisfied, this Court has jurisdiction pursuant to 28 U.S.C. §§ 1332,

1441, and 1446, and removal is proper.

                                      IV.      RESERVATION OF RIGHTS




1
 PHH requests that the Court take judicial notice of Exhibit F, pursuant to Federal Rule of Evidence 201. FED. R.
EVID. 201. The Appraisal District Value is not offered as a true market value, but to show that the true market value
exceeds the $75,000 threshold.
2
 PHH requests that the Court take judicial notice of Exhibit G, pursuant to Federal Rule of Evidence 201. FED. R.
EVID. 201.


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       18.    In filing this Notice of Removal, PHH does not waive, and specifically reserves,

any and all objections as to service, objections to personal jurisdiction, defenses, rights, and

motions.

                                        V.     CONCLUSION

       WHEREFORE, PHH removes this action from the 457th Judicial District Court of

Montgomery County, Texas, to the United States District Court for the Southern District of Texas,

Houston Division, so that this Court may assume jurisdiction over the cause as provided by law.


                                             Respectfully submitted,


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                                          COUNSEL FOR DEFENDANT
                                          PHH MORTGAGE CORPORATION




                               CERTIFICATE OF SERVICE

       The undersigned certifies that on September 14, 2022, a true and correct copy of the
foregoing document was delivered to the following via ECF and/or email consistent with the
Federal Rules of Civil Procedure.

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                                          /s/ Helen O. Turner
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